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a ee a

ieee) c-Met hms] melee
brother to take a moment and write a letter
expre CMU Hse ae eee
Jacob is human, and like humans he is
flawed. Yet a person's character really
ENP TOO BM =r Te es T geen Te
from past mistakes made. | have know
Jacob arquably longer and clo
probably any other person in his life. Which
gives me a perspective most don't have. |
ah
ais

s like Football vs Soccer to the
extremes such as God vs No God. As time
Reese lar mice are mt
Tm Com NAL
ETP Ce eae me men SL een
Piao Maem =m coe] = 11m ga 8
: vely tries to

ay to day life.

AS] AO MUNN MOM Un om atom) et ee ice edie neon
but always picks himself up, and keeps on

naracteristics that go hand in hand
Mare ewe Te] re maT ing him grow
is his honesty and integrity. | have not met
many people willing to be honest to
§ and the others around even

SAMs Mas]g ti N Toms) mele) 810 Ce a
admits when he has done wrong and
keeps true to his word when it's given.
Even when it comes to the small white lies

 
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judging a man is his humility. Jacob can be
a very loud, rambunctious, abrasive person

at times. It's part of the flaws that make
him who TT in more recent
years | have seen him take yet another
Ec] PNM Le nme Lee] sce Loreena Ue
the best version of himself as possible.

ing humility in his actions and 1

Fite] se) oe aria but. are " Eom aes Hd = 8)
ANT gaa tele ym citdlg aay =m ey =ce)e) Mi ptm gree lt
down laa) DED iore ics
them negatively and apologizing. To
humble enough to admit when you're
wrong and ask for forgiveness takes true E
strength.

Lastly | would like to touch on an as
that | would say all people that know
Jacob could whole heartedly agree on, and
Merete el Merale =| eee Bes me (ere ae
he brings. His optimistic view toward the
(Vit comm oh ttn Cera: eee ot Toe Tae

Adulte rome1ec laa (ole) alate) (-t2| ae Lere) sl Belo
there. He is the dasictall you want in your

Miele = amit
passion and happiness rt hi
energy. I've seen him pull himself up by the
boot straps and along the way lend a
helping hand to those in nee lel OL a
AMM Le Te UNICO 8PM Ceca tera ena
Meteo) oN Emam ele la r= oe La
hig Ted g Maes] Mle MA CO dg em ale] neg)
: able. Seeing him take the
SFE) N mem TUM OL ete Me Le ceed EL e|
g with his head high through this
entire ordeal is brave and encouraging
fram him. Overcoming the obstacles in his
way and going through all the proper
processes and jumping through all the
hoops with patience and understanding is
very hopeful to see as an older brother. |

think through this very situation he has

 

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grown more and proven to me again that
his moral compas Pea MU me
direction and that his character has a solid
foundation. With more time and

Bien d | Mee nn elem comet) fe) i an a

east el eee

Gee eem Leelee

 
